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                                                                             May 14, 2018


           Re:    In re Bagbag, Case No. 08-12667-mkv

    To Whom It May Concern:

           Please note that the hearing on the above–referenced Debtor’s amended motion to

    reopen case [Doc. No. 149] scheduled for Tuesday, May 15, 2018 at 10:00 a.m. has been

    adjourned to Thursday, May 31, 2018 at 10:00 a.m.


                                                Sincerely,

                                                /s/ James H. Shenwick
                                                James H. Shenwick




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